    Case 24-30465-5-wak Doc 92 Filed 12/13/24 Entered 12/14/24 00:20:42                                   Desc
                       Imaged Certificate of Notice Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF NEW YORK

                                     OFFICE OF THE CLERK
                                 CYNTHIA PLATT, CLERK OF COURT

ALBANY DIVISION                   SYRACUSE DIVISION                   UTICA DIVISION
JAMES T. FOLEY COURTHOUSE         JAMES M. HANLEY FEDERAL BUILDING    ALEXANDER PIRNIE FEDERAL BUILDING
445 BROADWAY, SUITE 330           100 S. CLINTON ST., ROOM 315        10 BROAD ST., ROOM 230
ALBANY, NY 12207                   PO BOX 7008                        UTICA, NY 13501
(518) 257-1650                     SYRACUSE, NY 13261-7008            (315) 793-8128
FAX (518) 257-1650                 (315) 295-1600                     FAX (315) 793-8128
                                   FAX (315) 295-1655
                                                                       REPLY: Syracuse


December 11, 2024

Thomas William Pritchard
5107 Old Barn Road
Clay, NY 13041

Re: Case No. 24-30465

Dear Mr. Pritchard

Please be advised that your case was dismissed 12/10/2024. The outstanding filing fee in the amount of
$338.00 is owed to the Court. Funds should be in the form of money order or certified funds.

Please submit payment within 10 (ten) days to the above address.

If you have any questions, please feel free to contact me at 518-257-1601.

Sincerely,

/s/ Lisa Cardinal

Administrative Supervisor
            Case 24-30465-5-wak Doc 92 Filed 12/13/24 Entered 12/14/24 00:20:42                                                                  Desc
                               Imaged Certificate of Notice Page 2 of 2
                                                              United States Bankruptcy Court
                                                              Northern District of New York
In re:                                                                                                                 Case No. 24-30465-wak
Thomas William Pritchard                                                                                               Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0206-5                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 11, 2024                                               Form ID: pdf904                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 13, 2024:
Recip ID                 Recipient Name and Address
db                     + Thomas William Pritchard, 5107 Old Barn Road, Clay, NY 13041-8955

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 13, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 11, 2024 at the address(es) listed
below:
Name                               Email Address
Raquel Felix
                                   on behalf of Creditor The Bank of New York Mellon Trust Company raqfelix@raslg.com

Raquel Felix
                                   on behalf of Creditor The Bank of New York Mellon Trust Company National Association fka The Bank of New York Trust
                                   Company, N.A. as successor to JPMorgan Chase Bank, as Trustee for Residential Asset Securities Corporatio raqfelix@raslg.com

U.S. Trustee
                                   USTPRegion02.UT.ECF@usdoj.gov

William J. Leberman-Trustee
                                   wleberman@lebermanlaw.com kbarber@lebermanlaw.com;NY97@ecfcbis.com


TOTAL: 4
